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                Exhibit G
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17th December, 2021

The Chief Secretary
Office of the President & Cabinet
Munhumutapa Building
Samora Machel Avenue
HARARE

Dear Chief Secretary,

        Re:     AMAPLATS MAURITIUS LIMITED & ANOTHER AND ZIMBABWE MINING
                DEVELOPMENT CORPORATION AND THE CHIEF MINING COMMISSIONER

Further to previous communication in this matter from ourselves, as well as directly from our client, we
are instructed to write as follows:-

1.      Our clients wish to place on record the assistance that they have received from your good office
        in the various attempts made to try and ensure for an amicable resolution of the obligations
        owed to our client by ZMDC and the Government in terms of an international arbitration awards
        handed in their favour.

2.      Further acknowledged is the cooperation and professionalism of the Governor of the Reserve
        Bank as well as that of the Attorney-General in engaging our clients in attempts to resolve this
        matter.

3.      Our clients note with regret, however, the inability, for unspoken reasons, of the Permanent
        Secretary for Finance to engage with our clients or indeed, with ourselves, as the legal advisors
        thereof – requests for appointments have simply been ignored, and letters addressed to his
        office equally ignored.

4.      All of our clients’ intimations have been spurned, in certain instances, the indifference to its
        advances has bordered on the contemptuous. It is not our clients expectation that the chairman
        of the country’s debt management committee, a statutory position, treat significant creditors,
        who also happen to be investors, in this manner.

5.      The debt owed to our clients is a decision of an international tribunal. It has never been disputed
        by Government, and has indeed been confirmed as a ‘Public Debt’ by the country’s Attorney-
        General, in writing.

6.      For close to seven years, our client has hesitated in enforcing the decision of the tribunal in the
        various international fora available to it for the simple reason that it has desired to maintain the
        cordial relationships it has established in Zimbabwe, more so, as it has sought not to prejudice
        Government’s ‘Zimbabwe is Open For Business’ investment drive.

7.      This goodwill appears to have been taken for granted.

8.      We write to advise, as a matter of courtesy to your good self, that our clients have initiated
        enforcement and other complementary actions internationally, through two global law firms.

9.      Our clients wish to state unequivocally that they will vociferously seek to protect their interests,
        and will not relent in enforcing the tribunal’s decision, which inclusive of interest, presently
        stands in excess of US$72 million.

It is extremely regretful that matters have come to this stage, whereas they could have been prevented
by a simple meeting with the Secretary for Finance to agree on a solution that takes into account the
financial circumstances of the Country.

Please be advised accordingly,
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                                             Yours sincerely,



                                             G N Mlotshwa
                                           SENIOR PARTNER

Cc:   Minister of Finance & Economic Development
      Minister of Mines & Mineral Development
      Governor of the Reserve Bank
      The Attorney-General
